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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT




GRADUATION SOLUTIONS LLC                   :
                                           :
V.                                         :        NO. 3:17-cv-01342-VLB
                                           :
ACADIMA, LLC and ALEXANDER                 :
LOUKAIDES                                  :

                                   JUDGMENT

      This action having come before the Court on the Second Amended

Complaint to a jury trial before the Honorable Vanessa L. Bryant, United States

District Judge, and default having already been entered against defendant

Acadima, LLC; and

      The issues having been tried to a jury and the jury having returned a

unanimous verdict in favor of plaintiff on Counts 1, 2, 4, 5, and 6; and in favor of

defendant Loukaides on Count 3; it is hereby

      ORDERED, ADJUDGED and DECREED that judgment be and hereby is

entered awarding actual damages to plaintiff by defendant Acadima, LLC in the

amount of $1,512,000 and punitive damages in the amount of $1,512,000; and actual

damages to plaintiff by defendant Loukaides in the amount of $1,615,000 and

punitive damages in the amount of $1,615,000.

      Dated at Hartford, Connecticut, this 12th day of July, 2019.


                                      ROBIN D. TABORA, Clerk


                                      By       /s/ Jeremy Shafer
                                                Jeremy J. Shafer
                                                Deputy Clerk

EOD: 7/12/2019
